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   October 30, 2023


   BY ECF
   The Honorable Margo K. Brodie
   United States District Judge
   Eastern District of New York
   United States Courthouse
   225 Cadman Plaza East
   Brooklyn, NY 11201

   Re:           SEC v. GPB Capital Holdings LLC, et al., No. 21-cv-00583-MKB-VMS
   Dear Chief Judge Brodie:
   We represent the Court-appointed monitor, Joseph T. Gardemal III (the “Monitor”), in the above-
   referenced matter. Pursuant to paragraph 23 of the Court’s Amended Order appointing the Monitor, dated
   April 14, 2021 (the “Amended Order”), we respectfully submit the attached presentation as the Monitor’s
   quarterly report for the third quarter of 2023. Paragraph 23 of the Amended Order directs the Monitor to
   file with the Court “a full report reflecting (to the best of the Monitor’s knowledge as of the period
   covered by the report) the status of the reviews contemplated in paragraphs 8 through 14” of the
   Amended Order. Certain portions of the report have been redacted, as authorized by Paragraph 23 of the
   Amended Order, “to protect sensitive, proprietary information.” As required by the Amended Order, this
   quarterly report is also being served on the SEC, GPB Capital Holdings, LLC, and the Attorney General
   of the State of New York. Accordingly, pursuant to paragraph 23 of the Amended Order, we respectfully
   submit the quarterly report of the Monitor for the third quarter of 2023 for the Court’s review.


   Respectfully submitted,



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                  Exhibit 1
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